 

 

COMPLAINT iS. sistricT couRT

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(for non-prisoner filers without lawyay PieiRieh "

UNITED STATES DISTRICT COWRE “4 4 I 31
EASTERN DISTRICT OF WISCOOLSHM.OF COURT

(Full name of plaintiff(s))
Eddie L. Hatch jr

Michelle Davis-Hatch

 

Vv.

Case 20=6-1 7 9 1

: : to be supplied by Clerk of Court
The City of Milwaukee ( ppued by )

(Full name of defendant(s))

 

Mayor Tom Barrett

Additional defendants list attached

 

A. PARTIES

1. Plaintiff is a citizen of Wisconsin
(State)

and resides at

4843 N. 25th street Milwaukee,W! 53209
(Address)

(If more than one plaintiff is filing, use another piece of paper.)

2. Defendant The City of Milwaukee and agents attached

(Name)

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is (if a person or private corporation) a citizen of Wisconsin
(State, if known)
and (if a person) resides at

 

(Address, if known)
and (if the defendant harmed you while doing the defendant's job)

worked for |e City of Milwaukee 200E. Wells street rm201 Milwaukee,WI 53202

(Employer’s name and address, if known)

 

(If you need to list more defendants, use another piece of paper.)
B. STATEMENT OF CLAIM

On the space provided on the following pages, tell:

1. Who violated your rights;

2. What each defendant did;

3. When they did it;

4, Where it happened; and

5. Why they did it, if you know.
JURY TRIAL DEMANDED

 

This action is brought by Eddie L. Hatch jr, Michelle Davis-Hatch, ("Hatch family") (dba

 

NIGHT OWL SVS,LLC to enforce the Fair Housing Act, Title VIII of the Civil Rights

 

Act of 1968 , as amended by the Fair Housing Amendments Act of 1988 ("Fair Housing

 

Act"), 42 U.S.C. SS 3601 et,seq.

 

This Court has jusrisdiction over this action pursuant to 28 U.S.C. SS 1331 and 1345

 

and 42 U.S.C. S 3612(o).

 

Venue is proper under 28 U.S.C. S 1391(b) because the actions giving rise to the

 

"Hatch family "allegations occurred in the Eastern District of Wisconsin and the subject

 

property is located in the Eastern District of Wisconsin.

 

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Additional Defendants: CASE NUMBER

 

JEFF HANEWALL- PRINCIPAL AT ENGBERG ANDERSON ARCHITECTS

 

320 E. BUFFALO ST SUITES00 MILWAUKEE,WISCONSIN 53202

 

VILLARD AVENUE BID#19

 

JEFF HANEWALL-CHAIRMAN OF VILLARD AVE BID#19

 

ANGELIQUE L. SHARPE-MANAGER OF VILLARD AVE BID#19 C/O HEDC BID#31

 

HAVENWOODS HEDC/BID #31 6161 N. 64TH ST.MIILWAUKEE,WI 53218

 

STEPHANIE HARLING-EXECUTIVE DIRECTOR OF HAVENWOODS BID#31

 

1ST DISTRICT ALDERMANS OFFICE 200 E. WELLS ST. MILWAUKEE,WI 53202

 

ASHANTI HAMILTON- 1ST DISTRICT ALDERMAN

 

JAMES STARKS-1ST DISTRICT ALDERMANS ASSISTANT

 

ZAKURI S. FEARS-1ST DISTRICT ALDERMANS CHIEF OF STAFF

 

ANDREA PRATT-LEGISLATIVE ASSISTANT TO 1ST DISTRICT ALDERMAN

 

CINNAIRE SOLUTIONS 2E. MIFFLIN ST SUITE403 MADISON, WI 53703

 

CHRISTOPHER LAURENT SVP,BUSINESS DEVELOPMENT PRESIDEN CINNAIRE

 

SOLUTIONS.

 

JAMES DOW-UNDERWRITING ANALYST/CINNAIRE

NWSCDC-4201 N.27TH ST 7TH FL MILWAUKEE, WI 53216

 

WILLIE SMITH-EDFP DCFI DIRECTOR NWSCDC/BID#19MEMBER

HOWARD SNYDER-NWSCDC EXECUTIVE DIRECTOR-RETIRED

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Additional Defendants: CASE NUMBER

DEPARTMENT OF CITY DEVELOPMENT (DCD) 809 N. BROADWAY MIL-WI 53202
DWAYNE K. EDWARDS-PROGRAM MANAGER (DCD)

MATT HAESSLY-REAL ESTATE SPECIALIST (DCD)

AMY E.TURIM-REAL ESTATE DEVELOPMENT SERVICES MANAGER(DCD)

 

KEN LITTLE-COMMERCIAL CORRIDOR MANAGER(DCD)

 

MARTHA BROWN-DEPUTY COMMISIONER(DCD)

 

VANESSA KOSTER-PLANNING MANAGER(DCD)

 

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The Hatch family, while growing its home based business,(Night Owl Services,lic.) was

 

working with the Department of City Development for 2+ yrs to purchase a City owned

 

commercial building to expand its operation by creating a training facility and encubator

 

for entrepreneurs in the food service industry. In October 2018 the perfect opportunity

 

presented itself. Mr. Dwayne K. Edwards met with Eddie Hatch at the property located

 

at 3310 W. Villard ave in Milwaukee, Wisconsin. After inspecting the property, Mr.

 

Edwards ask "if this would work?" | stated "yes, its just what we've been waiting for"!

 

He said "great"! | told him | would get the proposal to him ASAP! As | and the two other

 

interested parties where about to leave, Mr. Edwards touched my arm as | was walking

 

away and stated, " This ones yours". | asked him earlier upon arrival if there would be

 

any games played? He said "no". Again, as | was leaving after speaking to my broker

 

about the property and his comment, he stopped me again and stated "its your time

 

now"! DCD entertained offers from several black entrepreneurs in our community while

 

DCD employees ,Executive Director of Havenwood BID, Chairman and managers

 

of The Villard ave BID#19, A principle at Engberg Anderson Artchitects, 1st District

 

Alderman and staff memebers, principles at NWSCDC, and Mr. Christopher Laurent of

 

Cinnaire Solutions, a white, unfunded developer, was given unfair support and privilege

 

in the acquisition of the subject property. We were also suffered defamatory harm to

 

selection committee about our preparedness and in a public newsletter. There was a

 

concerted effort by all to deny us the enjoyment and right to purchase this dwelling.

 

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C. JURISDICTION

 

 

 

@; Iam suing fora violation of federal law under 28 U.S.C. § 1331.

 

OR

 

 

 

I am suing under state law. The state citizenship of the plaintiff(s) is (are)
different from the state citizenship of every defendant, and the amount of
money at stake in this case (not counting interest and costs) is

$

 

D. RELIEF WANTED

Describe what you want the Court to do if you win your lawsuit. Examples may
include an award of money or an order telling defendants to do something or to
stop doing something.

Acquisition of the property concerned for 1$

 

The funds to rehabilitate property and grounds to current codes and occupancy,vision

 

potential state. Working capital to hire and train staff comparable to our competitors

 

A transparent process from all City agencies and associates in future practices to video

 

record all meetings for open records request without prejudices.

 

The support of all current and future city agencies and associates in the support of

 

local entrepreneurs and potential employee's and their families as stated in their model

 

Preliminary Injunction on the sale,lease,demolition,etc of the dwelling in question.

 

Punitive damages to the Hatch Family in the amount of our best day of earnings times

 

each day lost since we placed our bid to purchase was harmed, until settled and paid.

 

A public acknowledgment of the harm done with apology from Common Council.

 

 

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E. JURY DEMAND

I want a jury to hear my case.

 

 

 

 

@j- YES -—NO.

 

 

 

 

I declare under penalty of perjury that the foregoing is true and correct.
Complaint signed this day of 20

Respectfully Submitted,

Sr Witt D. 7h

Signature of Plaintiff

YIYESFT DOES

Plaintiff's Telephone Number

2 Hatch @Ataht Ow ServitesLic Coa
Plaintiff’s Email Address

LEYS Ah IC™ Stret
oles heee If S3ID37

(Mailing Address of Plaintiff)

 

(If more than one plaintiff, use another piece of paper.)

REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING THE
FILING FEE

 

I DO request that I be allowed to file this complaint without paying the filing fee.
I have completed a Request to Proceed in District Court without Prepaying the
Filing Fee form and have attached it to the complaint.

 

 

 

 

 

 

m=} IDO NOT request that I be allowed to file this complaint without prepaying the
filing fee under 28 U.S.C. § 1915, and I have included the full filing fee with this

complaint.

 

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